
In re: Tracy Lee Hudson, applying for writ of certiorari on writ of habeas corpus. Parish of Bossier.
Granted.
The petition of the relator in the above entitled and numbered case having been duly considered,
*251It is ordered that a writ of certiorari issue herein, directing the Honorable Cecil C. Lowe Judge of the Twenty-Sixth Judicial District Court, for the Parish of Bossier, to transmit to the Supreme Court of Louisiana, on or before the 22nd day of December, 1978, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end .that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on a date to be fixed by this Court, why the relief prayed for in the petition of the relator should not be granted.
